        Case 3:05-cr-00004-JAG         Document 66       Filed 06/06/05      Page 1 of 8



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                v.                                CRIMINAL NO. 05-004 (JAG)

 REYNALDO MADRIGAL MADRIGAL,

 Defendant.


                        REPORT AND RECOMMENDATION

        Defendant Reynaldo Madrigal-Madrigal was charged in Counts One, Two and Three of

an Indictment and is pleading guilty to all three counts wherein Count One charges that on or

about December 13, 2004, in the District of Puerto Rico and within the jurisdiction of this Court,

defendant did knowingly and intentionally combine, conspire, and agree with one another to

commit an offense against the United States, that is, to possess with intent to distribute, one

hundred (100) kilograms or more of marijuana, that is, approximately one hundred eighty-nine

point three (189.3) kilograms of marijuana, a Schedule I, Narcotic Drug Controlled Substance,

in violation of 21 U.S.C. §841(a)(1) and 846. Count Two charges that on or about December

13, 2004, in the District of Puerto Rico, and within the jurisdiction of this Court, defendant did

knowingly and intentionally possess with intent to distribute one hundred (100) kilograms or

more of marijuana, that is, approximately one hundred eighty-nine point three (189.3)

kilograms of marijuana, a Schedule I, Narcotic Drug Controlled Substance, in violation of 21

U.S.C. §841(a)(1) and Title 18, United States Code, Section 2. Count Three charges that on

or about December 13, 2004, in the District of Puerto Rico and within the jurisdiction of this

Court, defendant did knowingly and intentionally import into the United States, from a place
         Case 3:05-cr-00004-JAG                  Document 66           Filed 06/06/05           Page 2 of 8



United States v. Reynaldo Madrigal-Madrigal
Criminal No. 05-004 (JAG)
Report and Recommendation
Page No. 2



outside thereof, one hundred (100) kilograms or more of marijuana, that is, approximately one

hundred eighty-nine point three (189.3) kilograms of marijuana, a Schedule I, Narcotic Drug

Controlled Substance, in violation of 21 U.S.C. §952(a) and Title 18, United States Code,

Section 2.

         Defendant appeared before this Magistrate Judge on June 3, 2005, since the Rule 11

hearing was referred by the court. Defendant was provided with the Waiver of Right to Trial by

Jury, which he signed and agreed upon voluntarily after examination in open court, under oath.

         Defendant indicated and confirmed his intention to plead guilty to Counts One, Two and

Three of the Indictment, upon being advised of his right to have said proceedings before a district

judge of this court. 1 Upon verifying through defendant’s statement his age, education and any

relevant aspect as to the use of medication, drugs, alcohol or substance dependency, and

psychological or psychiatric condition, to ascertain his capacity and ability to understand, answer

and comprehend the interactive colloquy with this Magistrate Judge, a determination was made

as to defendant’s competency and ability to understand the proceedings.

         Having further advised defendant of the charges contained in above-stated Counts One,

Two and Three he was examined and verified as being correct that: he had consulted with his

counsel, Attorney Michael Hasse, prior to the hearing for change of plea, that he was satisfied

with the services provided by his legal representative and had time to discuss with him all aspects

of the case, insofar, among other things, regarding the change of plea, the consent to proceed


         1
            The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
         Case 3:05-cr-00004-JAG               Document 66   Filed 06/06/05       Page 3 of 8



United States v. Reynaldo Madrigal-Madrigal
Criminal No. 05-004 (JAG)
Report and Recommendation
Page No. 3



before a United States Magistrate Judge, the content of the Indictment and charges therein, his

constitutional rights and the consequences of the waiver of same.

        Defendant was specifically appraised by this Magistrate Judge that, upon withdrawing his

initial plea of not guilty and now entering a plea of guilty to the charges specified, he was waiving

his right to a public, speedy, and a trial by jury constituted by twelve jurors who have to

unanimously agree to a verdict. He was also waiving his right to be presumed innocent and for

the government to meet the obligation of establishing his guilt beyond a reasonable doubt.

Furthermore, he was waiving his right during said trial to confront the witnesses who were to

testify against him and be able to cross-examine them , through counsel at said trial, as well as

present evidence on his behalf. He was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically appraised of his right to take the stand and testify, if he so decided, or not to testify,

and no inference or decision as to his guilt could be made from the fact if he decides not to

testify. Defendant was also explained his right not to incriminate himself; that upon such a waiver

of all above-discussed rights a judgment of guilty and his sentence were to be based on his plea

of guilty, and he would be sentenced by the judge after considering the information contained

in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of his counsel, Attorney Hasse, indicated he

freely and voluntarily waived those rights and understood the consequences. During all this

colloquy, defendant was made aware that he could freely request from this Magistrate Judge any
         Case 3:05-cr-00004-JAG               Document 66   Filed 06/06/05   Page 4 of 8



United States v. Reynaldo Madrigal-Madrigal
Criminal No. 05-004 (JAG)
Report and Recommendation
Page No. 4



additional clarification, repetition, or ask questions and that he may consult with his attorney at

any given time as to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offense as to which he was pleading guilty, including the term of imprisonment as to Count One

of the Indictment of no less than five (5) and not more than forty (40) years of imprisonment, a

fine not to exceed two million ($2,000,000) dollars, a term of supervisory release of no more than

four (4) years, in addition to any term of incarceration, and a mandatory penalty assessment of

One Hundred ($100) dollar to be deposited in the Crime Victim Fund. The penalty for Count

Two is a term of no less than five (5) and not more than forty (40) years of imprisonment, a fine

not to exceed two million ($2,000,000) dollars, a term of supervisory release of no more than

four (4) years, in addition to any term of incarceration, and a mandatory penalty assessment of

One Hundred ($100) dollar to be deposited in the Crime Victim Fund. The penalty for the

offense charged in Count Three is a term of no less than five (5) and not more than forty (40)

years of imprisonment, a fine not to exceed two million ($2,000,000) dollars, a term of

supervisory release of no more than four (4) years, in addition to any term of incarceration, and

a mandatory penalty assessment of One Hundred ($100) dollar to be deposited in the Crime

Victim Fund.

        Having ascertained directly from defendant that he had not been induced in any way to

plead guilty, that no one had forced him in any way to plead guilty, nor that he had been offered

any reward or any other thing of value to get him to plead guilty, the document entitled “Plea

Agreement (Pursuant to Rule 11(c)(1)(A) & (B) FRCP)” (the Agreement) was shown to
         Case 3:05-cr-00004-JAG               Document 66   Filed 06/06/05   Page 5 of 8



United States v. Reynaldo Madrigal-Madrigal
Criminal No. 05-004 (JAG)
Report and Recommendation
Page No. 5



defendant, verifying his signature and initials on each and every page.

        Pursuant to said Agreement, and insofar as Counts One, Two and Three, as to which

defendant already was aware of the maximum possible penalties, defendant was appraised that

it was up to the sole discretion of the sentencing court what the sentence to be imposed on him

will be. Defendant was specifically informed that if the sentencing court were to impose a

sentence which turned out to be higher or more severe than the one he might be expecting, for

said reason alone, defendant would have no grounds for the court to allow him to withdraw his

plea of guilty.

        The above-captioned parties’ estimate and agreement appear on page five (5), paragraph

seven (7) of the Agreement, regarding the possible applicable advisory Sentencing Guidelines,

were further elaborated and explained. The parties have agreed that the base offense level that

may be considered by the Court is twenty six (26) and since defendant timely notified of his

intention to enter a guilty plea the base offense level shall be reduced by three (3) levels for

acceptance of responsibility and reduced by two (2) points for compliance with the safety valve,

for an adjusted total Base Offense Level of Twenty One (21), which would have a range of thirty

seven to forty six (37-46) months of imprisonment. Defendant was explained by this Magistrate

Judge, by his counsel, and by the government during these Rule 11 proceedings, the safety valve

provisions and requirements.2 The United States would not oppose the defendant’s request for

a sentence at the lower end of the guideline range.

        There is no stipulation as to this defendant’s Criminal History Category.


        2
            18 U.S.C. §3553(f)(1)-(5).
         Case 3:05-cr-00004-JAG                 Document 66           Filed 06/06/05          Page 6 of 8



United States v. Reynaldo Madrigal-Madrigal
Criminal No. 05-004 (JAG)
Report and Recommendation
Page No. 6



         As part of the written Agreement, the government, the defendant, and his counsel also

agreed that they were aware of the applicability of the recent decisions by the United States

Supreme Court of United States v. Booker and United States v. Fanfan,3 125 S.Ct. 738, 73

USLW 4056 in that the Sentencing Guidelines are no longer mandatory and are thus considered

advisory.

         Defendant was specifically informed that the above sentencing calculations were not

binding for the sentencing court, but were only estimates of possible terms of his sentence, which

may always be imposed, at the sole discretion of the court, up to the maximum penalties allowed

by statute, and dependent upon the information and verification thereof of the pre-sentence

report that the court would have before it at the time of imposition of the sentence. Defendant

was additionally advised that because of his alien status, as a collateral consequence of his plea,

he may be subject to exclusion or deportation by the Immigration authorities.

         The government presented to this M agistrate Judge and to defendant, assisted by his

counsel, a summary of the basis in fact for the offenses charged and the evidence the government

had available to establish, in the event defendant had elected to go to trial, the commission of

the offense, beyond a reasonable doubt. Counsel and defendant acknowledged the evidence of

the government was fully disclosed to them and previously discussed between the two.

Defendant was able to understand this explanation and agreed with the government’s

submission. Defendant was also read and shown a written document entitled Statement of Facts,


         3
            In January 12, 2005, the Supreme Court succinctly stated that a sentencing court may deviate from the
Guidelines for clearly identified and persuasive reasons and on appeal of any such sentence, the Court of Appeals will
then considered if the sentence imposed is reasonable. The sentencing court will consider, until new developments from
Congress, just how advisory the Sentencing Guidelines are and thus what weight should the sentencing court give to the
recommended sentence under such Guidelines. As such, at the sentencing hearing, the court will resolve all disputes
about application of the Sentencing Guidelines.____
          Case 3:05-cr-00004-JAG                 Document 66             Filed 06/06/05          Page 7 of 8



United States v. Reynaldo Madrigal-Madrigal
Criminal No. 05-004 (JAG)
Report and Recommendation
Page No. 7



which had been signed by defendant and his counsel and is attached to the Agreement, wherein

the signature of counsel for the government also appears.

         Defendant was explained that the Agreem ent with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

         Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact he is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any sentence

of imprisonment would be served, without him being released on parole. Defendant was

additionally informed that prior to sentence, the sentencing judge will have a pre-sentence report

and that it would be made available to him, to his counsel and to the government, so that they

be allowed to correct or object to any information contained in said report which was not

accurate. Depending on the facts found by the court at the time and the sentence imposed, both

defendant and the government may appeal the sentence of the court.4

         Defendant was read in open court and shown the Indictment, provided an opportunity

to see and examine same, indicating he availed himself of the opportunity to further discuss same

with his attorney and then he positively stated that what was contained in Counts One, Two and

Three, was what he had done and to which he was pleading guilty during these proceedings.

Thereafter, defendant expressed in no uncertain terms that he agreed with the government’s




         4
         The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in
paragraph eighteen (18) a waiver of appeal.
         Case 3:05-cr-00004-JAG               Document 66   Filed 06/06/05    Page 8 of 8



United States v. Reynaldo Madrigal-Madrigal
Criminal No. 05-004 (JAG)
Report and Recommendation
Page No. 8



evidence as to his participation in the offense. Thereupon, defendant indicated he was pleading

guilty to Counts One, Two and Three of the Indictment in Criminal No. 05-004 (JAG).

        This Magistrate Judge after having explained to the defendant his rights, ascertaining that

he was acting freely and voluntarily to the waiver of such rights and in his decision of pleading

guilty, with full knowledge of the consequences thereof, and there being a basis in fact for such

a plea, is recommending that a plea of guilty be entered as to Counts One, Two and Three of the

Indictment.

        IT IS SO RECOMMENDED.

        The parties were informed that sentence has been scheduled for September 2, 2005, at

11:15 a.m. before Honorable Jay García Gregory, District Court Judge.

        San Juan, Puerto Rico, this 6th day of June of 2005.




                                                  s/ CAMILLE L. VELEZ-RIVE
                                                  CAMILLE L. VELEZ-RIVE
                                                  UNITED STATES MAGISTRATE JUDGE
